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                                                                               Eastern District of Kentucky
                         UNITED STATES DISTRICT COURT                                   FILE D
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION                                   FEB 27 2025
                                    LONDON                                             ATLONOON
                                                                                       Robert n. Cart'
                                                                                C!.ERKU.&D!STRIC1'COURT
 UNITED STATES OF AMERICA


 v.                                                 INDICTMENT NO. ~ •.1.~-,~01G, ti~""'
                                                        18 U.S.C. § 2250(a)


 CRYSTAL L. BRADSHAW

                                        * * * * *

THE GRAND JURY CHARGES:


       From on or about January 3, 2023, and continuing through on or about September

4. 2024, in Clay County, in the Eastern District of Kentucky, and elsewhere,

                               CRYSTAL L. BRADSHAW,

a person required to register under the Sex Offender Registration Notification Act, and is

a sex offender by reason of a conviction under Federal law, traveled in interstate commerce

and did knowing ly fail to i-egister and update a i-egistration as required by the Sex Offender

Registration and Notification Act, all in violation of 18 U.S.C. § 2250(a).

                                                    A TRUE BILL




                             ES ATTORNEY
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                                      PENALTIES

Not more than 10 years imprisonment, a $250,000 fine, and not less than 5 years up to
life supervised release.

PLUS:        Mandatory special assessment of $100.

PLUS:        Restitution, if applicable.
